      Case 1:23-cv-00244-JL-AJ Document 6 Filed 06/14/23 Page 1 of 2




                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW HAMPSHIRE



Grace Woodham

     v.                                      Case No. 23-CV-244-JL

Woodham et al
                               O R D E R


     Plaintiff, an inmate at the New Hampshire State Prison for

Men (“Institution”), has filed a motion to proceed without

prepaying fees or costs in the above-captioned case, which is

accompanied by a certificate signed by an authorized individual

from the Institution.    The certificate establishes that for the

six-month period preceding the filing, the plaintiff’s average

monthly deposits have been $21.92 and her average monthly balance

has been $617.06.   Plaintiff has also submitted a signed consent

form indicating consent to permit inmate accounts to make court-

ordered payments on her behalf.

     The motion to proceed without prepayment of fees is

GRANTED and an initial filing fee is assessed in the amount of

$123.41 pursuant to 28 U.S.C. § 1915(b)(1) and LR

4.2(c)(2)(A).   In addition, monthly payments of 20% of each

preceding month’s income credited to the plaintiff’s account

shall be remitted by the Institution when the amount in the

account exceeds $10.00 until the sum of $350.00 has been paid.
      Case 1:23-cv-00244-JL-AJ Document 6 Filed 06/14/23 Page 2 of 2



28 U.S.C. § 1915(b)(2); LR 4.2(c)(2)(B).

     The initial filing fee and the monthly payments, as

outlined above, shall be forwarded to the Clerk of Court by the

Institution in accordance with this Order.          A copy of this

Order, along with a copy of the signed Prison Consent Form (doc.

no. 3-1), shall be forwarded by the Court to the Institution’s

inmate account department.

     SO ORDERED.

                                  /s/ Daniel J. Lynch
                                  Daniel J. Lynch
                                  United States Magistrate Judge

6/14/2023

cc: Grace Woodman, pro se
    NH State Prison for Men




                                    2
